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                          UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

RE: EMMA J SANCHEZ                                     )          Case No. 24 B 02132
                                                       )
                                                       )          Chapter 13
     Debtor(s)                                         )
                                                       )          Judge: DONALD R CASSLING

                     TRUSTEE’S OBJECTION TO CONFIRMATION OF PLAN

     COMES NOW Thomas H. Hooper, Chapter 13 Trustee duly appointed to administer the
instant case ("Trustee"), and hereby OBJECTS to confirmation of the Chapter 13 plan filed by
Debtor(s), in advance of the confirmation hearing set for April 11, 2024 10:00 am, for the
following:

     Debtor has failed to provide copies to the Trustee of the most recently filed tax returns in
     accordance with 11 U.S.C. §§ 521(e)(2)(A)(i), and 1325(a)(1). Missing 2019 tax returns.

     Debtor has failed to file a proper plan as required by Section 1325(a)(1) by failing to
     properly fill out: Part #5.1 to check boxes #2 and #3 and to provide 100% dividend to
     general unsecured creditors . If plan is not proposed at 100% box #3 in Part #2.3 must be
     checked instead of box #1, more legible pay advices for non-filing spouse must be
     provided, and documentation for the deduction taken on line #41 of the 122C-2 form must
     be provided.


    WHEREFORE, the Trustee prays the Court to enter an Order denying confirmation of the
proposed Chapter 13 plan, and for such other and further relief as the Court may deem just and
proper. In the alternative, the Trustee requests a hearing on the matter.

Dated: March 27, 2024                                                        /s/ Thomas H. Hooper

                                                                             Thomas H. Hooper
                                                                             Chapter 13 Trustee
                                                                             55 E. Monroe St., Suite 3850
                                                                             Chicago, IL 60603
                                                                             (312) 294-5900
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                                                      )
                                                      )           Chapter 13
     Debtor(s)                                        )
                                                      )           Judge: DONALD R CASSLING

                                      CERTIFICATE OF SERVICE

I, Emily Baez, do hereby certify that I am, and at all times hereinafter mentioned was, more than
eighteen (18) years of age; and that on the date indicated herein below, I served copies of the
foregoing TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN by depositing a copy of
the same in a postage-paid envelope with the United States Postal Service or by electronic
means, as indicated.

     VW LAW LLC                                                      (via CM/ECF)
     Attorney for Debtor

     Patrick Layng                                                   (via CM/ECF)
     United States Trustee

     EMMA J SANCHEZ                                                  (via First Class Mail)
     4521 WENONAH AVE
     FOREST VIEW, IL 60402
     Debtor




Dated: March 27, 2024                                                 /s/ Emily Baez

                                                                      Emily Baez
                                                                      Office of the Chapter 13 Trustee
                                                                      55 E. Monroe St., Suite 3850
                                                                      Chicago, IL 60603
                                                                      (312) 294-5900
